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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,

                     Plaintiffs,

         v.                                                       Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                     Defendants.


                                     JOINT STATUS REPORT

       Pursuant to the Court’s November 22, 2022, Final Judgement under Rule 54(b) and Stay of

Proceedings, ECF No. 170, the parties respectfully submit this joint status report requesting that the

stay be continued pending resolution of the appellate proceedings in this case. A proposed order is

attached.

       1.       On November 15, 2022, the Court granted Plaintiffs’ motion for partial summary

judgment on Count Six of their Second Amended Complaint. See Huisha-Huisha v. Mayorkas, No. CV

21-100 (EGS), 2022 WL 16948610, (D.D.C. Nov. 15, 2022). Thereafter, on November 22, 2022, the

Court entered final judgment on Count Six pursuant to Federal Rule of Civil Procedure 54(b). ECF

No. 167. The Court also stayed proceedings as to Plaintiffs’ remaining claims, and directed the parties

to submit a joint status report in 60 days informing the Court how they wish to proceed with Plaintiffs’

remaining claims. ECF No. 170.

       2.       As the Court is aware, nineteen States have moved to intervene in this action. ECF

No. 168. Upon Defendants’ notice of appeal, the States unsuccessfully moved to intervene and for a

stay of this Court’s judgment in the D.C. Circuit. See Huisha-Huisha v. Mayorkas, No. 22-5325 (D.C.
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Cir. Dec. 16, 2022), Doc. #1978057. The Supreme Court, however, granted a stay on December 27,

2022, pending resolution of the question “[w]hether the State applicants may intervene to challenge

the District Court’s summary judgment order,” and set oral argument for March 1, 2023. Arizona v.

Mayorkas, 143 S. Ct. 478 (2022).

       3.      On January 20, 2023, the D.C. Circuit ordered that further proceedings in the D.C.

Circuit be held in abeyance pending the Supreme Court’s decision. Order, Huisha-Huisha v. Mayorkas,

No. 22-5325 (D.C. Cir. Jan. 20, 2023), Doc. #1982224. The court directed the parties to file motions

to govern future proceedings in the case within 30 days of the disposition by the Supreme Court. Id.

       4.       In light of the status of the appellate proceedings, including the Supreme Court’s

forthcoming consideration of the intervention issue, the parties believe that it is in the interest of

judicial economy to stay further proceedings on Plaintiffs’ remaining claims pending the outcome of

appellate proceedings in this case. The parties reserve the right to request to lift the stay depending

on the circumstances. They propose that they submit a joint status report within 30 days of the

Supreme Court’s decision on the intervention question. A proposed order is attached.




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                                     Respectfully submitted,

MATTHEW M. GRAVES,                   BRIAN M. BOYNTON
D.C. Bar. #481052                    Principal Deputy Assistant Attorney General
United States Attorney
                                     JEAN LIN
BRIAN P. HUDAK                       Special Litigation Counsel, NY#4074530
Chief, Civil Division                Federal Programs Branch

SEAN M. TEPE, DC Bar #1001323        /s/ John Robinson
Assistant United States Attorney     JOHN ROBINSON, DC Bar #1044072
601 D Street, N.W.                   Trial Attorney
Washington, D.C. 20530               U.S. Department of Justice
Phone: (202) 252-2533                Civil Division, Federal Programs Branch
Email: sean.tepe@usdoj.gov           1100 L Street N.W.
                                     Washington, DC 20530
                                     Tel (202) 616-8489
                                     Email: john.j.robinson@usdoj.gov

                                     Attorneys for Defendants


                                      /s/ Lee Gelernt
                                      Lee Gelernt (Bar ID. NY0408)
                                      Daniel A. Galindo
                                      Omar Jadwat*
                                      American Civil Liberties Union Foundation,
                                      Immigrants’ Rights Project
                                      125 Broad Street, 18th Floor
                                      New York, NY 10004
                                      Tel: (212) 549-2660

                                      Attorneys for Plaintiff
                                      *Admitted pro hac vice




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